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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

v.                                                          Docket No. 4:15cr71(6)-GHD-JMV

COURTNEY SHEPHARD

                              ORDER SETTING SENTENCING

         Pursuant to the change of plea held May 27, 2016, and the Defendant's adjudication of
guilt,

         IT IS HEREBY ORDERED that,

       1.     The sentencing hearing in this matter is set Wednesday, September 28,2016, at
10:00 a.m., Courtroom No.1, OXFORD, Mississippi.

        2.     The United States Probation Office shall conduct a presentence investigation and
prepare a presentence report. Fed. R. Crim. P. 32(c) and (d), 18 U.S.C. § 3552(a), and U.S.S.O. §
6A 1.1.

        3.     The probation officer shall disclose the completed report to counsel for the
defendant and counsel for the government on or before August 25, 2016. Except for proposed
special conditions of supervision, the probation officer shall not disclose any recommendation
made or to be made to the Court. Fed. R. Crim. P. 32(e)(3).

       4.      Counsel shall attempt in good faith to resolve disputes over any material in the
presentence report. All arithmetical, typographical, or other clear error should be handled
informally, by counsel, with the probation officer. Any unresolved objections to material
information, sentencing guideline ranges, and policy statements contained in or omitted from the
presentence report, shall be filed as a restricted document by the objecting party on or before
September 8, 2016. Fed. R. Crim. P. 32(£)(2) and O.S.S.O. § 6A1.2(b). Any unresolved
objections will be included in the addendum to the presentence report.

         5.    Sentencing memoranda and/or supporting documents addressing all relevant
sentencing issues, including reference letters and motions for departure, shall be filed as
restricted documents by the appropriate party on or before September 15,2016. Any
unresolved objections will be included in the presentence report; objections should not be
included in a sentencing memorandum.
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       6.      The presentence report, in final form, including any unresolved objections, will be
delivered to the Court and the parties on or before September 22, 2016. Fed. R. Crim. P. 32(g)
and U.S.S.G. § 6A1.2 (c).

       7.      The Court will resolve objections to the presentence report at the sentencing
hearing. Fed. R. Crim. P. 32(i) and U.S.S.G. § 6A1.3.

       8.      All parties that intend to have witnesses testifY at sentencing shall give notice to
the Court ten (10) ~s prior to the sentencing date.


       Thisd7d• y ofM.y,      2016.                      ~ ;ID~
                                                      Glen H. Davidson,
                                                      Senior United States District Judge
